         Case 1:21-cv-00182-MAB Document 11                Filed 05/17/21     Page 1 of 3




            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
            BEFORE THE HONORABLE MARK A. BARNETT, CHIEF JUDGE

                                                              )
NUCOR CORPORATION,                                            )
                                                              )
               Plaintiff,                                     )
                                                              )       Court No. 21-00182
       v.                                                     )
                                                              )
                                                              )
UNITED STATES,                                                )
                                                              )
               Defendant,                                     )
                                                              )
                                                              )

                   CONSENT MOTION TO INTERVENE AS OF RIGHT

       1.      Pursuant to Rule 24(a) of the Rules of this Court (“USCIT R.”), POSCO

respectfully requests that this Court allow it to intervene as a matter of right as Defendant-

Intervenor in this action.

       2.      Plaintiff Nucor Corporation (“Plaintiff”) commenced this action by filing a

summons and complaint on April 21, 2021. This action contests certain aspects of the final

results in the 2018 administrative review of the countervailing duty order on Certain Carbon and

Alloy Steel Cut-to-Length Plate from the Republic of Korea. The final results were issued on

March 16, 2021 and published in the Federal Register on March 22, 2021. See Certain Carbon

and Alloy Steel Cut-to-Length Plate From the Republic of Korea: Final Results and Partial

Rescission of Countervailing Duty Administrative Review, 2018, 86 Fed. Reg. 15,184 (Dep’t

Commerce Mar. 22, 2021) (“Final Results”).

       3.      Pursuant to 28 U.S.C. § 2631(j)(1)(B), an interested party who was a party to the

proceeding below may intervene as of right in a civil action pending with this Court. POSCO is

a producer and exporter of carbon and alloy steel cut-to-length plate from Korea, was subject to

                                                                                            14290537–1


                                                  1
         Case 1:21-cv-00182-MAB Document 11               Filed 05/17/21     Page 2 of 3




the Final Results challenged in this action, and participated in the administrative proceedings

leading to the Final Results. POSCO is thus an interested party as defined by 19 U.S.C.

§§ 1677(9)(A), 1516a(f)(3), and 28 U.S.C. § 2631(k)(1), and has standing to intervene in this

action as a party to the proceeding below. 19 U.S.C. § 1516a(d). Accordingly, POSCO may

intervene as of right in this action.

        4.      Plaintiff’s complaint was filed on April 21, 2021, and service of the complaint

was e-mailed electronically. Accordingly, this motion is timely, having been made within 30

days after the date of service of the complaint. See USCIT R. 24(a).

        5.      Pursuant to USCIT R. 7(b), counsel for POSCO has conferred with counsel for

the other parties and has obtained their consent for this motion. Specifically, on May 14, 2021,

Adam Teslik, counsel to Plaintiff, consented to this motion, and on May 17, 2021, Kelly

Krystyniak of the U.S. Department of Justice, counsel to Defendant United States, consented to

this motion.

        6.      Based on the foregoing, POSCO respectfully requests that this Court grant its

motion to intervene as of right as Defendant-Intervenor in this action.

                                                     Respectfully submitted,

                                                     /s/ Brady W. Mills
                                                     Brady W. Mills
                                                     Donald B. Cameron
                                                     Julie C. Mendoza
                                                     R. Will Planert
                                                     Mary S. Hodgins

                                                     MORRIS MANNING & MARTIN LLP
                                                     1401 Eye Street, NW, Suite 600
                                                     Washington, D.C. 20005
                                                     (202) 216-4116
Dated: May 17, 2021                                  Counsel to Proposed Defendant-Intervenor
                                                     POSCO



                                                 2
         Case 1:21-cv-00182-MAB Document 11                Filed 05/17/21    Page 3 of 3




            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
            BEFORE THE HONORABLE MARK A. BARNETT, CHIEF JUDGE

                                                              )
NUCOR CORPORATION,                                            )
                                                              )
               Plaintiff,                                     )
                                                              )       Court No. 21-00182
       v.                                                     )
                                                              )
                                                              )
UNITED STATES,                                                )
                                                              )
               Defendant,                                     )
                                                              )
                                                              )

                                             ORDER

       Upon consideration of the consent motion of Intervenor-Applicant POSCO to intervene

as of right, and other papers and proceedings herein, it is hereby:

       ORDERED that Intervenor-Applicant’s motion is granted; and it is further

       ORDERED that POSCO be designated as Defendant-Intervenor in this action.

       SO ORDERED.


Dated: _______________                                _____________________________
       New York, NY                                   Honorable Mark A. Barnett, Chief Judge
